Freenet Project                                        https://freenetproject.org/police-departments-tracking-efforts-based-on-fa...
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